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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION                                            ENTERED
                                                                                       08/11/2017
IN RE:                                      §           CASE NO. 17-32788
                                            §
2020 MCGOWEN, LLC                           §
                                            §
       DEBTOR                               §           CHAPTER 7

       ORDER SUSTAINING DEBTOR’S MOTION TO CONVERT FROM
               CHAPTER 7 CASE TO CHAPTER 11 CASE
                                      (Docket No. 11)
       On this day came on to be considered the Debtor’s Motion to Convert from

Chapter 7 Case to Chapter 11 Case, and it appearing to the Court that due notice has

been given to the parties in interest; and that there is no opposition to the conversion of

the case;

       IT IS THEREFORE ORDERED that the above-referenced case is hereby

Converted to a Chapter 11 Case.

                                           ###
    Signed: August 09, 2017.
      Prepared by:
      Lee Keller King                           ____________________________________
      1001 West Loop South, Ste. 700            DAVID R. JONES
      Houston, TX 77027                         UNITED STATES BANKRUPTCY JUDGE
      (281) 740-9385
